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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF IDAHO


Rebecca Scofield                                              )
                                                              )   Case No. 3:22−cv−00521−REP
                         Plaintiff,                           )
                                                              )
                                                              )
                                                              )
vs.                                                           )   NOTICE OF ASSIGNMENT TO A
                                                              )   UNITED STATES MAGISTRATE
                                                              )   JUDGE AND CONSENT FORM
Ashley Guillard                                               )
                                                              )
                        Defendant                             )
                                                              )
                                                              )
_______________________________________________

      In accordance with District of Idaho General Order No. 324, you are notified that the above entitled
action has been assigned to a United States Magistrate Judge to conduct all proceedings in this case,
including trial and entry of final judgment.

       Exercise of this jurisdiction by a United States Magistrate Judge is, however, permitted only if all
parties file a written consent form, a copy of which is part of this notice. You may also, without adverse
consequences, request immediate reassignment to a District Judge. No Judge will be informed of a party's
response to this notification, unless all parties have consented to the assignment of the matter to a United
States Magistrate Judge. All parties are requested to return this form within 60 days of receipt to the Clerk of
Court. Any party deciding to proceed before a United States Magistrate Judge should sign the consent to
proceed form and return it to the Clerk of Court by e−mailing the same in .pdf format to the following
address: consents@id.uscourts.gov. If you are a pro se litigant, you should mail this form to the following
address: U.S. District Court, 550 W. Fort St. Room 400, Boise, ID 83724. The parties may submit a joint
consent, similar to a stipulation, before or after receiving this Notice.

      An appeal from a judgment entered by a United States Magistrate Judge will be directly to the United
States Court of Appeals for the Ninth Circuit in the same manner as an appeal from any other judgment of
this District Court. 28 U.S.C. § 636(c); Fed.R.Civ.P. 73.


                         CONSENT TO THE EXERCISE OF JURISDICTION
                          BY A UNITED STATES MAGISTRATE JUDGE

      In accordance with provisions of 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, and District of Idaho General
Order No. 324, the undersigned party to this case consents to have a United States Magistrate Judge conduct
any and all proceedings in this case, including the trial, and order the entry of a final judgment.




Party Represented                       Signature                                        Date

_________________________              __________________________________              ____________
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                                THE CONSENT PROCESS: WHAT IS IT?

In accordance with 28 U.S.C. § 636(c), FRCP 73, and Local Rule 73.1, a Magistrate Judge is available to
preside over all aspects of this case, including the jurisdictional authority to:

        − Schedule, hear, and decide all dispositive and non−dispositive matters;
        − Schedule, hear, and decide all interlocutory matters;
        − Conduct jury or non−jury trials;
        − Enter final orders and judgment; and
        − Decide all post−trial motions.

Appeals from any final order or judgment entered by a Magistrate Judge are directly to the United States
Court of Appeals for the Ninth Circuit. See 28 U.S.C. § 636(c)(3); Fed. R. Civ. P. 73(c). However, a
Magistrate Judge's exercise of this jurisdiction is permitted only if all parties voluntarily consent.

                                           How Does It Benefit Me?

Speedy trial rights in felony criminal cases require the District's two District Judges to give priority to trying
those cases, sometimes requiring that civil trial dates be moved. Magistrate Judges do not preside over
felony criminal trials. As a result, a Magistrate Judge's trial docket is generally less crowded than those of
the District Judges.

Magistrate Judges usually are able to provide earlier and firmer dates for both hearings and trials than might
otherwise be possible by a District Judge. Because this District is very busy and the criminal docket is
growing rapidly, consenting to proceed before a Magistrate Judge often means your civil case will be
resolved more quickly than if before a District Judge.

Additionally, even if parties do not consent, the District Judge to whom the matter is assigned may
nonetheless refer all pre−trial proceedings to a Magistrate Judge pursuant to 28 U.S.C. § 636(b), FRCP 73,
and Local Rule 72.1. For any dispositive matters so referred, the Magistrate Judge will enter a Report and
Recommendation for the District Judge's consideration. At that point, the review process by a District Judge
generally takes 60 days. Thus, by consenting to Magistrate Judge jurisdiction at the outset, the parties also
can avoid the delays and expense of this review process, while still preserving their appeal rights.

                                              How Do I Consent?

After the case is filed, the Clerk of the Court will send the appropriate notice and consent form as provided
by the General Order. The consent form affords each party an initial opportunity to consent to having a
Magistrate Judge assume complete jurisdiction over the case, including trial and entry of judgment. Each
party should make a decision whether to consent to or decline Magistrate Judge jurisdiction as soon as
possible. The parties may also file a joint consent, similar to a stipulation, at any time.

You may, without adverse substantive consequences, withhold your consent, which would preclude
Magistrate Judge jurisdiction. If any party withholds consent, the identity of the parties consenting and/or
withholding consent will not be communicated to any Judge.


___________________________________
    1. This insert is for information purposes only and is not intended to supersede the applicable rules,
including General Order No. 324, addressing the consent process.
